  Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 1 of 45




                     Exhibit A

  to FCA US’s Notice of Removal

Docket Sheet, Service of Process, and
         State Court File
Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 2 of 45
Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 3 of 45
Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 4 of 45
                 Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 5 of 45
id' 1 s                                                                                                              CT Corporation
,z_l®Wolters Kluwer                                                                                   Service of Process Notification
                                                                                                                                   10/03/2022
                                                                                                                 CT Log Number 542422055



          Service of Process Transmittal Summary


          TO:       Melissa Gravlin
                    Fca US LLC
                    1000 CHRYSLER DR OFC OF
                    AUBURN HILLS, MI 48326-2766


          RE:       Process Served in California

          FOR:      FCA US LLC (Domestic State: DE)




          ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

          TITLE OF ACTION:                         Re: Eric Hunter, individually and on behalf of all others similarly situated // To: FCA US
                                                   LLC

          DOCUMENT(S) SERVED:                      Summons, Complaint, Declaration, Cover Sheet, Attachment(s), Order

          COURT/AGENCY:                            Santa Clara County Superior Court of California, CA
                                                   Case # 22CV403295

          NATURE OF ACTION:                        Product Liability Litigation - Manufacturing Defect - Class Action - 2019 Jeep Wrangler
                                                   Rubicon Unlimited, VIN: 1C4HJXFG6KW566614

          PROCESS SERVED ON:                       CT Corporation System, GLENDALE, CA

          DATE/METHOD OF SERVICE:                  By Process Server on 10/03/2022 at 14:25

          JURISDICTION SERVED:                     California

          APPEARANCE OR ANSWER DUE:                Within 30 days after service (Document(s) may contain additional answer dates)

          ATTORNEY(S)/SENDER(S):                   Joel D. Smith
                                                   Bursor & Fisher, P.A.
                                                   1990 N. California Blvd., Suite 940
                                                   Walnut Creek, CA 94596
                                                   (925) 300-4455

          ACTION ITEMS:                            CT will retain the current log

                                                   Image SOP

                                                   Email Notification, Lance Arnott sopverification@wolterskluwer.com


          REGISTERED AGENT CONTACT:                CT Corporation System
                                                   330 N BRAND BLVD
                                                   STE 700
                                                   GLENDALE, CA 91203
                                                   877-564-7529
                                                   MajorAccountTeam2@wolterskluwer.com




          The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
          and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
          information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the




                                                                                                                                    Page 1 of 2
               Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 6 of 45
IAI is                                                                                                           CT Corporation
,z_l®Wolters Kluwer                                                                               Service of Process Notification
                                                                                                                           10/03/2022
                                                                                                              CT Log Number 542422055


         included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
         disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
         contained therein.




                                                                                                                                Page 2 of 2
                 Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 7 of 45



                                                                 tO® Wolters Kluwer

                              PROCESS SERVER DELIVERY DETAILS




Date:                                        Mon, Oct 3, 2022
Server Name:                                 DROP SERVICE




 Entity Served                  FCA US LLC

 Case Number                    22CV403295

 Jurisdiction                   CA




                                                Inserts
                        Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 8 of 45

                                                                                                                                                    SUM-1 00
                                                  SUMMONS                                                                    FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                              (CITACION JUDICIAL)
                                                                                                              E-FILED
NOTICE TO DEFENDANT:                                                                                          9/23/2022 3:33 PM
(AVISO AL DEMANDADO):                                                                                         Clerk of Court
FCA US LLC,                                                                                                   Superior Court of CA,
                                                                                                              County of Santa Clara
YOU ARE BEING SUED BY PLAINTIFF:                                                                              22CV403295
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                           Reviewed By: R. Walker
ERIC HUNTER, individually and on behalf of all others similarly situated,                                     Envelope: 10013054
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further waming from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org ), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
lAVISOI Lo han demandado. Si no responde den fro de 30 dies, la code puede decidir en su contra sin escuchar su version. Lea la informacien a
continuaciOn.
   Tiene 30 DiAS DE CALENDARIO despues de que le entreguen este citacion y papeles legates para presenter una respuesta por escrito en esta
code y hacer que se entregue una copia al demandante. Una carte o una Ilamada telefenica no lo protegen. Su respuesta por escrito tiene que ester
en formato legal correcto Si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda user para su nespuesta.
Puede encontrar estos formularios de la code y mas informacien en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de byes de su condado o on la corte que le quede mas cerca. Si no puede pager la cuota de presentacien, pida al secreted() de la code que
le de un formulatio de exencien de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podia
guitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisitos legates. Es recomendable que !lame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
remisiOn a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos para obtener servicios le gales gratuitos de un
programa de servicios loge/es sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contact° con la code o el
colegio de abogados locales. AVISO: Por by, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacien de $10,000 6 mas de valor recibida mod/ante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte puede desechar el caso.
                                                                                               CASE NUMBER:
The name and address of the court is:
(El nombre y direcci6n de la corte es): Superior of the State of California                   '22n/403295
County of Santa Clara, 191 North First Street San Jose, CA 95113

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Joel D. Smith, Bursor & Fisher, P.A., 1990 N. California Blvd.,Suite 940 Walnut Creek, CA 94596, Tel: (925) 300-4455
DATE:
           9/20/2022 3:33 PM              Clerk of Court            Clerk, by
                                                                                                 R.                    Walker                      , Deputy
(Fecha)                                                             (Secretario)                                                                   (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
                                     1. TT as an individual defendant.
                                     2.   I     I as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify): FCA US LLC,
                                          under: x CCP 416.10 (corporation)                                I—I CCP 416.60 (minor)
                                                           CCP 416.20 (defunct corporation)                I—I CCP 416.70 (conservatee)
                                                 I—I CCP 416.40 (association or partnership)               F-7 CCP 416.90 (authorized person)
                                                 I     I
                                                       other (specify):
                                     4.         by personal delivery on (date):
                                                                                                                                                       Page 1 of 1
Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20. 465
  Judicial Council of California                                      SUMMONS
                                                                                                                                                 www.courts.ca.gov
  SUM-100 [Rev. July 1,2009]
For your protection and privacy, please press the Clear
This Form button after you have printed the form.               [Print this form           Save
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      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 9 of 45


                                                                   E-FILED
                                                                   9/20/2022 3:33 PM
     BURSOR & FISHER, P.A.                                         Clerk of Court
 1                                                                 Superior Court of CA,
     L. Timothy Fisher (State Bar No. 191626)
     Joel D. Smith (State Bar No. 244902)                          County of Santa Clara
 2
     1990 North California Boulevard, Suite 940                    22CV403295
     Walnut Creek, CA 94596                                           — ---
 3                                                                 Reviewed By: R. Walker
     Telephone: (925) 300-4455
 4   Facsimile: (925) 407-2700
     E-Mail: Itfisher@bursor.com
 5           jsmith@bursor.com

 6   BURSOR & FISHER, P.A.
     Frederick J. Klorczyk III (State Bar No. 320783)
 7   888 Seventh Avenue
     New York, NY 10019
 8   Telephone: (646) 837-7150
     Facsimile: (212) 989-9163
 9   E-Mail: fklorczyk@bursor.com

10   Attorneys for Plaintiff

11

12
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
13
                               FOR THE COUNTY OF SANTA CLARA
14

15                                                                 22CV403295
     ERIC HUNTER, individually and on behalf of all     Case No.
16   others similarly situated,

17                                      Plaintiff,      CLASS ACTION COMPLAINT

18          v.
                                                        JURY TRIAL DEMANDED
19   FCA US LLC,
20                                    Defendant.
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     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                           1
         Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 10 of 45




  1             Plaintiff Eric Hunter ("Plaintiff') brings this action on behalf of himself, and all others

  2     similarly situated against FCA US LLC ("Defendant"). The allegations in this complaint are based

— 3 -- arper-SOnal-knovadge-a§ to- Plaintiff's- o-Wii con-duct and are made Or-I-information and belief as to

  4     all other matters based on an investigation by counsel.

  5                                                INTRODUCTION

  6             1.       This is a putative class action against FCA US, LLC ("FCA" or "Fiat Chrysler

  7     Automobiles") on behalf of individuals who purchased or leased any of the following vehicles sold

  8     with an electronic sway bar disconnect (hereinafter, the "Class Vehicles"):'

  9                  •    2010-2017 Jeep Wrangler Rubicon ("JK")

 10                  •    2010-2017 Jeep Wrangler Unlimited Rubicon ("JKU")

 11                  •    2018-2020 Jeep Wrangler Rubicon ("IL")

12                   •    2018-2020 Jeep Wrangler Unlimited Rubicon ("JLU")

13                   •    2020 Jeep Gladiator Rubicon

14                   •    2010 Dodge Ram 2500 Power Wagon

15                   •    2011-2020 Ram 2500 Power Wagon

16              2.       As described in greater detail below, a sway bar (also called an "anti-roll bar" or

17      "stabilizer bar") is part of a car's suspension system. It provides stability and helps prevent the car

18      from leaning to one side when turning. Driving on streets or highways with a disconnected or

19      malfunctioning sway bar is dangerous.

20              3.       For cars that are suitable for off-roading, like the Class Vehicles here, it is

21      sometimes advantageous to temporarily disconnect the sway bar when driving in rough terrain.

22      The Class Vehicles' suspension systems include an electronic sway bar disconnect, which is

23      intended to allow the driver to quickly disconnect and reconnect the sway bar with the push of a

24      button on the dashboard.

25              4.       The problem, however, is that the electronic sway bar disconnect has a dangerous

26      defect, and thus poses a serious safety risk to drivers, occupants, and the general public

27      (hereinafter, "the Sway Bar Defect"). Specifically, the electronic circuit board for the sway bar

28      I The term "Class Vehicles" are limited to those that were manufactured after June 10, 2009.

         CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                           2
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 11 of 45




 1   disconnect is in a housing with seals that are prone to failure and is located in an area that is likely

 2   to get wet or sprayed under ordinary or expected conditions, such as driving over puddles or in the

 3   rain. Failure of the circuit board occurs when liquid or contaminants breach a seal of the housing,

 4   resulting in a disconnected or malfunctioning sway bar. In some instances, the electronic sway bar

 5   disconnect will fail and not reconnect, forcing the driver to drive on roads and highways without a

 6   sway-bar. Driving on streets and highways with a disconnected or malfunctioning sway bar is

 7   dangerous.

 8           5.      FCA has known about this problem for years but has taken no action to fix it.

 9   Instead, FCA continues to sell the Class Vehicles as safe, reliable and fit for their ordinary purpose.

10   As a result, owners of the Class Vehicles have suffered or will suffer financial harm, including,

11   inter alia: (1) out-of-pocket expenses to repair or replace defective electronic sway bar

12   disconnects; (2) costs for future repairs or replacements; (3) sale of their vehicle at a loss; and/or

13   (4) diminished value of their vehicles.

14                                      JURISDICTION AND VENUE

15           6.      This Court has subject matter jurisdiction over this class action. This Court has

16   personal jurisdiction over the parties because Plaintiff resides in California and submits to the

17   jurisdiction of the Court, and because Defendant, at all times relevant hereto, has systematically

18   and continually conducted, and continues to conduct, business in this State, and operates multiple

19   dealerships in Santa Clara County, such that suit in this County is foreseeable.

20           7.      Venue is proper in this Court pursuant to Civil Code § 1780(d) because FCA

21   regularly transacts substantial business in this County, and the acts and omissions giving rise to this

22   action occurred in large part at an FCA dealership in this County; and venue is proper under Code

23   Civ. P. § 395.5 because this County is where the injury occurred. Additionally, FCA has

24   advertised in this County and has received substantial revenue and profits from its sales and/or

25   leasing of Class Vehicles in this County; therefore, a substantial part of the events and/or omissions

26   giving rise to the claims occurred, in part, within this district.

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28   1/

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                               3
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 12 of 45




 1                                                PARTIES

 2          8.      Plaintiff Eric Hunter is a citizen of California and resides in Los Angeles,

 3   California. Mr. Hunter ownsa 2019 Jeep Wrangler Rubicon Unlimited, VIN               -

 4   1C4HJXFG6KW566614, which he purchased for his personal or household use from an authorized

 5   Jeep dealer: Gilroy Jeep in Gilroy, California. Prior to his purchase, Mr. Hunter reviewed and

 6   relied on the window sticker. He also spoke with a sales representative about the Class Vehicle he

 7   purchased. None of the sources of information Mr. Hunter reviewed disclosed the Sway Bar

 8   Defect. If there had been such a disclosure, Mr. Hunter would not have bought his Class Vehicle,

 9   or would have paid less for it.

10          9.      After his purchase, outside of the warranty window and a few days after driving his

11   Jeep in a light rain, Mr. Hunter's Jeep stopped functioning entirely and was left stranded in a

12   parking garage. The car displayed a sway bar fault notification on his dashboard screen. Mr.

13   Hunter brought his car to Russell Westbrook Chrysler Dodge Jeep Ram of Van Nuys at 6110 Van

14   Nuys Blvd., Van Nuys, California for repair, but the dealer blamed the issue on unrelated parts of

15   the car which were fully functioning. After the attempted repairs, Mr. Hunter had to bring the car

16   back several times because the Sway Bar Defect continued to manifest. To date, Mr. Hunter has

17   spent a substantial amount of money to have the sway bar and the wiring harness replaced, but the

18   problems have not yet been resolved.

19          10.     Defendant FCA US LLC ("FCA") is a limited liability company organized and

20   existing under the laws of the State of Delaware, and is wholly owned by holding company Fiat

21   Chrysler Automobiles N.V., a Dutch corporation headquartered in London, United Kingdom.

22   FCA's principal place of business and headquarters is in Auburn Hills, Michigan, in the Eastern

23   District of Michigan.

24          11.     FCA (sometimes referred to as Chrysler) is a motor vehicle "Manufacturer" and a

25   licensed "Distributor" of new, previously untitled Chrysler, Dodge, Jeep, and Ram brand motor

26   vehicles. FCA's Chrysler brand is one of the "Big Three" American automobile brands. FCA

27   engages in commerce by distributing and selling new passenger cars and motor vehicles under its

28   Chrysler, Dodge, Jeep, and Ram brands. Other major divisions of FCA include Mopar, its

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                         4
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 13 of 45




 1   automotive parts and accessories division, and SRI, its performance automobile division. As of

 2   2015, FCA is the seventh largest automaker in the world by unit production.

 3           12.    FCA's business operations in the United States include the manufacture,

 4   distribution, and sale of motor vehicles and parts through its network of independent, franchised

 5   motor vehicle dealers. FCA is engaged in interstate commerce in that it sells vehicles through this

 6   network located in every state of the United States.

 7          13.     FCA sells its trucks through FCA franchise dealerships. FCA distributes

 8   information, including window stickers, about the Class Vehicles to its dealers for the purpose of

 9   passing that information to consumers. FCA also understands that its dealers pass on information

10   from FCA about the characteristics, benefits, and quality of the Class Vehicles to consumers. The

11   dealers act as FCA's agents in selling the Class Vehicles and disseminating information about them

12   to customers and potential customers.

13                            TOLLING OF STATUTES OF LIMITATIONS

14          14.     Any applicable statute(s) of limitations have been tolled by FCA's knowing and

15   active concealment and denial of the facts alleged herein. Plaintiff and Class members could not

16   have reasonably discovered the true nature of the defects at issue here, and FCA's role in causing

17   the defects, until shortly before this class action litigation was commenced.

18          15.     FCA was and remains under a continuing duty to disclose to Plaintiff and the

19   members of the Class the true character, quality and nature of the Class Vehicles, i.e. that the

20   electronic sway bar disconnects are defective and will require costly repairs, pose safety concerns,

21   and diminish the resale value of the Class Vehicles. As a result of the active concealment by FCA,

22   any and all applicable statutes of limitations otherwise applicable to the allegations herein have

23   been tolled.

24                                      FACTUAL ALLEGATIONS

25           I.     The Sway Bar Defect
26          16.     A sway bar (sometimes called an "anti-roll" or "stabilizer" bar) is part of a car's

27   suspension and is designed to keep the car level and prevent body roll. When a car is inclined to

28   lean to one side—which typically happens when the car turns—the sway bar helps resist leaning by

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                           5
            Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 14 of 45




    1      applying upward force on one side and downward force on the other. This force tends to restore

    2      the wheels to the same height and keeps the vehicle level. Without a sway bar, a driver could lose

----3 -- cerntrol—andllip-the—CarVNT-heflilifiiiig—af high- speed, partularly oria curve.
    4             17.     Although the sway bar is an important safety feature in ordinary day-to-day travel, it

    5      is not ideal for "off-roading" or driving in rough and uneven terrain. Temporarily disconnecting

    6      the sway bar when off-roading allows greater suspension "articulation," meaning how far up and

    7      down the axle can move relative to the car chassis. Increasing articulation allows the vehicle to

    8      keep all four tires in contact with the ground on rough terrain, which in turn provides better

    9      stability and traction. For example, if one wheel is forced up by a large boulder, the opposite side

   10      is pushed down as the suspension conforms to the terrain. Conversely, if one wheel drops down

   11      into a deep hole, articulation allows the opposite and higher wheel to maintain contact with the

   12      ground. Articulation is one of the most important factors in determining if a car can get over an

   13      obstacle.

   14             18.     Generally, a driver with the right tools and know-how can obtain greater articulation

   15      by manually disconnecting the front sway bar links. The Class Vehicles, however, are sold with an

   16      electronic sway bar disconnect, which is marketed as a premium off-road feature that allows the

   17      driver to connect or disconnect the sway bar with the flip of a dash-mounted switch. The electronic

   18     sway bar disconnect is a material feature to consumers and comes at a premium price.

   19             19.     FCA promotes this feature on its Jeep-brand website, jeep.com, where it claims,

   20     "the Electronic Sway Bar Disconnect system allows you to remotely disconnect your sway bar

   21     from the cabin, so front wheels can drop and compress for better suspension and articulation on

   22     tough terrain." This statement is accompanied by a handful of photographs depicting a Jeep

   23     Rubicon driving over a boulder-filled landscape where disconnecting the sway bar would be

   24     necessary or advisable:

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           CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                           6
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 15 of 45




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16          20.     FCA also promotes this feature on its Ram-brand website for the Power Wagon,
17   ramtrucks.com and in its brochures, where it states that the "Electronically Disconnecting Front
18   Sway Bar, [is] essentially a two piece bar that disconnects, allowing far more front suspension
19   articulation" and that the "front stabilizer bar allows up to 26.3 inches of articulation..." This
20   statement is also accompanied by a handful of photographs depicting a Power Wagon driving over
21   rough terrain with the tagline "THERE IS SIMPLY NO OTHER TRUCK YOU CAN BUY WITH
22   THIS LEVEL OF FACTORY-WARRANTED CAPABILITY." In fact, one of the main pictures
23   in the Ram Truck Brochure prominently displays the actuator (circled in red):
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     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                         7
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 16 of 45




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                           ULTIMATE CAPABILITY
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12                     6.41. HEW VS 1.2400-1.13 WARN' WINCH RAM ARTICULINK" FRONT SUSPENSION 33" GOODYEAR, OURATRAV TIRES
                                  ELECTRONIC LOCKING DIFFS 14.3" GROUND CLEARANCE 26.3" FRONT SUSPENSION ARTICULATION

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17                                                                              LN.
18              .411      ELECTRONICALLY DISCONNECTING FRONT SWAY BAR RP+ .ER-COATED STEEL BUMPERS FUNCTIONAL TOW/
                                                   —    -............rwErmARRIAGE PROTECTION BILSTEIN MONOTUBE SHOCKS

19                      THERE IS SIMPLY NO OTHER TRUCK YOU CAN SOY WITH THIS LEVEL 00 FACTORY.WARRANTED CAPAEOUTY. 6.41."HEAW VS weiw



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            21.              The electronic sway bar disconnect is a feature unique to only the Jeep Rubicon and
21
     the Ram Power Wagon. No other standard model Jeeps or Ram pickups can be equipped with this
22
     feature.
23
            22.              The design of the electronic sway bar disconnect is stunningly bad. For starters, the
24
     electronic actuator mechanism and circuit board are in a housing with seals that are prone to
25
     failure. In turn, that housing is located low enough in the engine compartment that gets wet when
26
     the car drives over puddles, streams, or wet roads. Water and/or other contaminants tend to
27
     damage electronic components. When the circuit board for the electronic sway bar disconnect gets
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     CLASS ACTION COMPLAINT — JURY TRIAL DEMANDED                                                                                         8
         Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 17 of 45




         wet-orcomes-in-contatt-with—cmtaTriinaTitcthe system is prone to malfunction and/or complete

- - 2    failure. This failure may also be exacerbated by the limited electrical insulation of the circuit board
                                              _
    3    in proximity trithe metal housing the circuit board is placed in. In any case, the Class Vehicles'

    4    circuit boards uniformly fail and/or malfunction because of unwanted (but foreseeable) exposure to

     5   water and other contaminants.

    6           23.     Below is a photograph of a damaged circuit board inside the housing:

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   16           24.     Below is a photograph of a damaged circuit board removed from the housing:

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         CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                         9
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 18 of 45




 1          25.          Below is a photograph showing an under-chassis view of a Jeep, with the electronic

 2   sway bar disconnect circled in red:

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 6                                                   ..
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13                                                                                                                                                     \ 1 -
14          26.          Below is a photograph showing an under-chassis view of a Power Wagon, with the

15   electronic sway bar disconnect circled in red:

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26          27.          This failure due to water and/or contaminant intrusion, occurs through exposure to

27   rain, road spray, and puddles on the road in the normal course of driving.

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     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                                                                                  10
         Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 19 of 45




     1          II.    FCA-Tifild-Consumers That The Class Vehicles Can Ford 30 Inches Of Water
                28.—   To make matters worse, FCA says that the Class Vehicles are capable of fording:

 3       waterup-to-30-inches-deep. This information can be found, for example, on interior door stickers

 4       and in the user manuals:

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         CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                  11
         Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 20 of 45




 1                 29.         The Class Vehicles' ability to ford up to 30 inches of water is also touted through

 2   FCA's marketing materials, as shown by this 2013 Jeep brochure, which states that "Wrangler has

 3   the capability to safely manage in up to 30 inches of water:"

 4
             WATER FORDING.' Traverse that
 5        stream with confidence, thanks to additional
          electrical and body seals, plus a high air-
 6        intake location. Wrangler has the capability
          to safely manage in up to 30 inches of
 7        water. Always inspect all waterways before
          proceeding, just to make sure there are no
          unforeseen pitfalls.
 8

 9

10
                  30.          As does this 2015 Jeep brochure:
11
          WATER    FORDING' Traverse that stream with confidence,
12         thanks to additional electrical and body Seals, plus a high
           air-intake location, Wrangler has the caPability Lb safely
13         manage in up to 30 inches-of waterF Always inspectall
           waterways before proceeding, juSt to make sure there are
           ho Unforeseen
14

15

16
                  31.         Even the press release for the 2016 Power Wagon highlights that the Power Wagon
17
     has "significant clearance for navigating a variety of severe inclines and declines, as well as
18
     providing up to 30 inches of water-fording capability:"2
19
          Ground Clearance and Protection
          Power Wagon provides optimal balance between on-road civility and off-road capability with 33-inch Goodyear Wrangler DuraTrac tires, which
20        feature a beefy tread pattern to help grab ledges along the trail and deliver optimum traction through sand, mud and snow — a workhorse tire
          for rugged off-road terrain that still offers a quieter ride on paved roads.
21
          Larger tires and a suspension lift contribute to the Power Wagon's 14.3-inch ground clearance, compared to 12 inches on the Ram 2500
22        Heavy Duty. The truck's approach angle is boosted to 33.6 degrees, the departure angle is increased to 26.2 degrees and the breakover angle
          is enhanced to 23.5 degrees. This gives the Ram Power Wagon significant clearance for navigating a variety of severe inclines and declines,
23        as well as providing up to 30 inches of water-fording capability.


24        Underneath the 2017 Ram Power Wagon are generous underbody protection components. Fore-aft bars bring together the transfer case and
          fuel tank skid plates, resulting in armor that minimizes underside damage and rock wedging.
25
     II
26
     II
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28   2   https://medialcanorthamerica.com/newsre1ease.do?id=17288&mid=71

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                                                                        12
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 21 of 45




        -   32.        The press release for the 2017 Power Wagon also specifies tharthe "POWtr- Wagori —

 2   off-road capabilities include ... 30 inches of water fording:"3

 3             The 2017 Ram Power Wagon offers unique, segment-leading off-road equipment including:


 4                • 12,000-pound Warn winch
                  • Bilstein mono-tube shocks
 5                • Five-link rear coil spring suspension
                  • Smart Bar electronic disconnecting sway bar
 6                • Electric locking front and rear differentials
                  • 33-inch Goodyear Wrangler DuraTrac tires

 7                • Complete under-chassis armor
                  • 6.4-liter HEMID V-8 with 410 horsepower and 429 lb.-ft. of torque
                  • Tow hooks
 8

 9             Ram Power Wagon's off-road capabilities include 14.3-inch ground clearance, 26 inches of wheel travel and 30 inches of
               water fording.

10
            33.        The problem is, at that depth, the actuator for the electronic sway bar disconnect
11
     would be, at least partially if not fully, submerged for both a Jeep and Power Wagon:
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27
     3 https://www.pmewswire.cominews-releases/ram-announces-pricing-for-2017-power-wagon-
28   300359848.html
     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                                                       13
         Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 22 of 45




 1            34.    Thus, even though the vehicles are supposed to be able to drive through water that

 2   partially, if not fully, submerges the sway bar actuator housing (i.e., 30 inches), the housings still

 3   fail in conditions much less extreme, such as those found on normal wet roads after a rainstorm.

 4            35.    When the electronic sway bar disconnect malfunctions due to exposure, drivers can

 5   no longer use it to re-connect the sway bars, making the vehicle hazardous to drive under normal

 6   driving conditions. Owners also have reported that malfunctions can cause the dashboard sway bar

 7   indicator light and/or the sway bar fault warning light to flash on and off erratically, causing an

 8   unsafe distraction. Either way, the Sway Bar Defect poses a safety hazard and reduced function.

 9            36.   FCA knows that driving with a disconnected sway bar is dangerous. FCA's parts,

10   service and customer care organization, Mopar, posted a video on YouTube warning customers:

11   "Do not disconnect the sway bar and drive on hard-surfaced roads or at speeds above 18 mph (29

12   km/h) or you could lose control of the vehicle, which can result in serious injury."4

13            37.   The electronic sway bar disconnect system is the same or substantially the same in
14   all Class Vehicles. Most importantly, in each instance, the actuator housing is not properly sealed
15   and is located in an area likely to get wet or sprayed. Furthermore, the actuator part number for all
16   Jeep Class Vehicles is the same: 68044411AC. There are two actuator part numbers for the Ram
17   Class Vehicles depending on the model year,5 but for all Class Vehicles—whether Jeep or Ram—
18   the actuators look alike and are identical in all material respects:
19

20

21

22

23

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27   4   haps ://www.youtube.com/watch?v=jn2Dolqte4k

28   5   6804412AA (2006-2012 Power Wagon); 68217400AA (2013 and later Power Wagons).

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                             14
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 23 of 45




 1                      Jeep Actuator                               Ram Actuator
 2


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            III. FCA's Knowledge Of The Sway Bar Defect
10
            38.     FCA has known about the Sway Bar Defect since 2005, and in no event later than
11
     the time Plaintiff purchased his vehicle.
12
            39.     The design of the electronic sway bar disconnect is so obviously ill-conceived that
13   FCA must have anticipated the Sway Bar Defect from the moment it put the feature on the market.
14   FCA also would have known about the defect through sources not available to Plaintiff and Class
15   members, including, but not limited to: pre-production testing, pre-production design failure mode
16   and analysis data, production design failure mode and analysis data, early consumer complaints
17   made exclusively to FCA's network of dealers and directly to FCA, aggregate warranty data •
18   compiled from FCA's network of dealers, testing conducted by FCA in response to consumer
19   complaints, and repair order and parts data received by FCA from its network of dealers and
20
     suppliers.
21
            40.     FCA also must know about the Sway Bar Defect because since 2011 at the latest,
22   there has been a small cottage industry of companies providing aftermarket manual disconnect
23
     systems to replace the stock electronic systems provided by FCA. To be sure, there are many kinds
24   of aftermarket parts available for Jeep and Ram vehicles, but the market for them exists largely
25
     because the parts are cheaper, or offer improved performance or aesthetics. However, the market
26   for aftermarket manual disconnect systems is different: that market exists mainly because the stock
27   electronic systems are defective.
28
     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                       15
         Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 24 of 45




 1            41.    For example, EVO Manufacturing sells the "No Limits Manual Rubicon Sway Bar

 2   Disconnect," stating: "The Factory Rubicon Swaybar Disconnect is a great feature but is prone to

 3   breaking, shorting out and all around being annoying. The EVO No Limits Manual Disconnect

 4   now allows you to defeat the overly troublesome computer system that operates this very cool

 5   feature that Rubicon Model JK's come with."6 Other manufacturers such as Currie Enterprises and

 6   JKS Manufacturing also offer manual alternatives to the stock electronic sway bar disconnect

 7   found in the Class Vehicles. It defies credulity that FCA would not know that other companies

 8   openly advertise and provide alternative parts solely to avoid or remedy manifestation of the Sway

 9   Bar Defect.

10            42.    For many years, FCA also would have been aware of customer complaints about the

11   Sway Bar Defect as a result of online reputation management (or "ORM") efforts. ORM is now a

12   standard business practice among most major companies and entails monitoring consumer forums,

13   social media and other sources on the interne where consumers can review or comment on

14   products. "Specifically, [online] reputation management involves the monitoring of the reputation

15   of an individual or a brand on the internet, addressing content which is potentially damaging to it,

16   and using customer feedback to try to solve problems before they damage the individual's or

17   brand's reputation."7 The growth of the internet and social media, along with the advent of

18   reputation management companies, has led to ORM becoming an integral part of many companies'

19   marketing efforts.

20            43.    For many years, owners have been complaining about the Sway Bar Defect on Jeep

21   and Ram enthusiast websites like wranglerforum.com or jk-forum.com. FCA would have learned

22   about these complaints in connection with its ORM efforts. The unusually high number of

23   consistent complaints spanning many years would have put FCA on notice of the Sway Bar Defect.

24   Examples are quoted below, but many more are available online:

25

26

27   6   http://evomfg.com/EVO-MFG-Products/Jeep-Gladiator-JT?product_id=154

28   7   https://en.wikipedia.org/wiki/Reputation_management#Online reputation management.

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                       16
         Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 25 of 45




 1               •   April 2011: "Sway bar light keeps blinking when driving and if I try to
                     disconnect sway bar it does not disconnect. Anybody else had this
 2                   problem?"8
 3
                 •   April 2011 Response to post above: "this has been talked about a thousand ...
 4                   no a million times, just do a search...

 5               •   October 2012: I'm sure most JK Rubi owners are aware of the problems with
                     the electronic sway bar disconnect system so I thought I would share my
 6                   solution. When mine failed the dealership wanted $2200 to replace the entire
                     sway bar system as they do not sell just the motor. The luxury of hitting a
 7
                     button to disconnect was not worth that kind of money to me, especially since
 8                   there have been no improvements made to the system. It's not a matter of IF
                     they'll fail, but WHEN, so I might as well have lit a match to that $2200. I
 9                   considered just using the same type of manual disconnects that most jeepers
                     use, until I came across Offroad Evolution's manually operated solution for
10                   the troublesome electronic motor.9
11
                 •   December 2014: "Hi everyone, I am having a lot of problems with my
12                   electronic sway bar disconnect system—it is shorting out and making a bunch
                     of lights come on."10
13
                 •   February 23, 2016: "Ok i have read tons of forums and complaints on the E-
14                   disco. I have had problems the last year and so much so that I haven't even
                     thought about touching that dreaded button in fear I wouldn't be able to get the
15
                     sway bar to reconnect. Well I get into the jeep for my daily 30 mile commute
16                   and the damn sway bar light is flashing!!! Out of no where, I haven't even
                     been in 4 wheel drive in two weeks. I researched and tore the thing open to get
17                   a ton of black water pouring out. I cleaned it all up regreased and
                     disconnected the battery in hopes my sway bar would re connect. No luck!!!
18                   The drive is terrible it sways like an ocean liner. Any tips on how to get it to
                     reconnect. In the past I would have to get under it while I had the Mrs push
19
                     the button while I shook it aggressively and it would reconnect it isnt working
20                   anymore. I think its time for Chrysler to admit they have a major issue and
                     recall these dreaded POS."11
21

22

23

24   8   https://www.jk-forum.com/forums/stock-jk-tech-12/electronic-sway-bar-disconnect-175897/
     9 https://www.jk-forum.com/forums/jk-write-ups-39/jk-rubicon-e-swaybar-disconnect-mod-
25
     250055/
     10
26     https://www.jk-forum.com/forums/modified-jk-tech-2/disarm-electronic-sway-bar-disconnect-
     2012-jku-rubicon-314659/
27   11
       https://www.wranglerforum.com/f202/electronic-sway-bar-disconnect-problems-again-
28   1621433.html

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                       17
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 26 of 45




 1               •    February 25, 2016: "The dealer replace mine 3 time and on the 4th time they
                      would not. I have been using the EVO for a few years now and it works great.
 2                    No more problems."I2
 3
                 •    July 2016: "There's been some old older discussions about issues with the
 4                    electronic sway bar disconnect, so I thought I'd add mine to the short pile.

 5                    When I bought my '12 JKUR last December, something was wrong with the
                      sway bar and they fixed it. Last weekend I went out on Switzerland Trail to
 6                    test the skids I just put on...and guess what? Sway bar wouldn't disconnect.
                      (Yup unfortunately this is the 1st time I've attempted it).
 7
                      Took it back to the dealership to moan and groan and wonder if they fixed the
 8
                      right thing. They pulled the records. At the time I was told the sway bar
 9                    disconnected but wouldn't reconnect.

10                    In December they replaced a module. This past week I got to find out the
                      actuator is bad, my extended warranty doesn't cover it, and the manuf 100k
11                    powertrain warranty doesn't cover it either."I3
12                •   August 2018: "I was considering adding the Mopar electronic sway bar
13                    disconnect that comes on the Rubicon to my Willys. But the more I read about
                      it, the more I'm coming across LOTS of people that are having problems with
14                    it working reliably.

15                    The problem with it malfunctioning is apparently so prevalent that the
                      aftermarket has stepped in with a lot of work around solutions to "fix" the
16
                      Mopar disconnect, e.g. Manual release/engage cables, conversions to air
17                    actuation, video's that delete the circuit card entirely in the disconnect and
                      actuate purely on 12vdc, etc..."I4
18

19

20

21

22

23

24

25

26   12   Id
     13 https://www.jkowners.com/forum/stock-jk-tech-dept/329481-electronic-sway-bar-woes-
27   options.html

28   14   https://www.wranglerforum.com/f274/electronic-sway-bar-disconnect-alternatives-2325915.html

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                      18
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 27 of 45




 1          44.     Moreover, anyone conducting online reputation management for FCA would

 2   have found the complaints with a Google search using the terms "electronic sway bar

 3   disconnect problem." Such a search would reVeal-mdny complaints about theSway Bit-

 4   Defect going back as far as 2008:

 5
 6      www.jkowners.com > > Modified JK Tech Dept.
        Rubicon Sway Bar Disconnect Problem l JKOwners Forum
 7
        Nov 15, 2007 - The automatic sway bar disconnect on my 2 door Rubicon quit ... They
 8      replaced the sway bar and electronic disconnect under warranty.
 9      electric swaybar disconnect problems?         Jun 6, 2008
        Electrical mystery? Try the sway bar fuse... Jul 18, 2009
10      Front sway bar disconnect repair              Apr 21, 2009
11      Electronic Sway bar craziness                 Dec 28, 2009
        More results from www.jkowners.com
12
13      wvvw.jk-forum.com      > Modified JK Tech -•
14      Rubicon Owners have problems with the Elec Sway Bar failing ...
15      Apr 22, 2017 - Hey rubicon owners has anyone had any problems with there electronic sway
        bar motor failing and not disconnecting. just read a article on the forum about it ...
16
        rubicon sway bar light flash non-stop all the time97m - JK        Sep 15, 2010
17      Sway Bar light issue - JK-Forum.com - The top destination for ... Feb 13,2015
        Electronic Sway bar disconnect - JK-Forum.com - The top ...       Apr 30, 2011
18
        Rubicon Sway Bar Problem - JK-Forum.com - The top ...             Sep 26, 2014
19      More results from www.jk-forum.com

20
        wayalife.com showthread.php 5287-My-electronic-...
21
        My electronic swaybar disconnect killed my jeep - WayaLife
22      So, long story short, the mechanic disconnected it, and all issues disappeared. I will be
23      installing the Manual Rubicon Swaybar Disconnect, ...
        Mar l, 2013- 10 posts -7 authors
24
25          45.     Federal law requires automakers like FCA to notify and update National Highway
26   Traffic Safety Administration of potential defects. See TREAD Act, Pub. L. No. 106-414, 114
27   Stat. 1800 (2000). Accordingly, FCA monitors customer complaints and warranty data to track
28
     CLASS ACTION COMPLAINT — JURY TRIAL DEMANDED                                                    19
     Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 28 of 45




 1   reports of defects that pose a safety hazard. From these sources, FCA knew that Class Vehicles

 2   were experiencing unusually high levels of malfunctions with the sway bar systems. Moreover, the

 3   complaints were frequent enough, and similar enough, to put FCA on notice that the complaints

 4   were not the result of user error or anomalous incidents, but instead a systemic problem with the

 5   Class Vehicles.

 6          46.     FCA also has known from the first day it sold the Class Vehicles that a

 7   malfunctioning sway bar can pose a serious safety hazard.

 8          47.     As, a result of the combined factors described above, FCA knew about the defect at

 9   the time of sale, but Plaintiff and the Class members did not. Given the nature of the Sway Bar

10   Defect, it would have been difficult for Plaintiff and Class members to discover the defect until

11   after they purchased the Class Vehicles.

12          IV.     FCA Never Disclosed The Sway Bar Defect

13          48.     FCA had a duty to disclose the Sway Bar Defect to consumers. However, FCA has

14   never disclosed the Sway Bar Defect in the owner's manuals, window stickers, advertisements, any

15   of the venues FCA used to sell the Class Vehicles, or anywhere else.

16          49.     In the owner's manuals for Jeep and Ram vehicles, FCA made partial

17   representations by describing in detail how to use the electronic sway bar disconnect and the

18   circumstances when using it is appropriate. The owner's manuals did not disclose the Sway Bar

19   Defect or otherwise disclose that the actuator mechanism and circuit board are in a housing with

20   seals that are prone to failure. Despite, the owners' manuals for the Class Vehicles nonetheless

21   promised that the Class Vehicles were capable for fording water up to 30 inches deep.

22          50.     Jeep and Ram window stickers also highlighted the electronic front sway bar

23   disconnect as a selling feature. These partial representations also created a duty to disclose the

24   Sway Bar Defect, but FCA never disclosed the Sway Bar Defect or otherwise disclosed that the

25   actuator mechanism and circuit board are in a housing with seals that are prone to failure.

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     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                         20
     Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 29 of 45




 1          51.    For example, the Monroney Sticker for a 2019 Ram Power Wagon described a

 2   "Front Disconnecting Stabilizer Bar":

 3
                         STANDARD
 4
                         Advanced MuIa         isqt!Airbags
 5                                                              of,AirbaA
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10
            52.    The Monroney Sticker for a 2016 Wrangler Unlimited Rubicon described a "Front
11
     Active w/ Driver Control Anti-Roll Bar":
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                                 MECHANICAL
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14                              '7;..FM4Trqi0.0C4i146101-
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     CLASS ACTION COMPLAINT — JURY TRIAL DEMANDED                                              21
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 30 of 45




 1          53.     The Monroney Sticker for 2020 Wrangler Unlimited Rubicon included identical

 2   descriptions of "Front Active w/ Driver Control Anti-Roll Bar":

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 4                                  . - ••
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10                                 ...S. 40*, :Vat,;*

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11                                  FránALrvë       fiver Ccerfol'Ar -Rot Bar ar Rear
                                    ntiRbll Bar • •
12
            54.     The Monroney Sticker for a 2011 Wrangler Rubicon described an "Electronic front
13
     sway bar disconnect":
14
15                                   MECHANICAL
16
                                          - 410 axle ratio '-
17                                        7611.4105*.99tkr0.00:1
                                          Hill start 4,4f
18                                    -Next generation Dana 44 HOli*00:0
                                       Next generatioROana 44 lID rear axle
19                                    '4:1 Rock-Trac HD part -time 4W0
                                     's)0.ter11,,                           .1


20                                    .'604:dixni4r;ettopin*fro.e..oattoiii
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                                      • 140-amp alternator

21                                                             04) hooks
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                                     '4'.001•01#:1,504*:
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26
            55.     The partial representations and omissions on the Monroney stickers for all other
27
     Class Vehicles were the same or substantially similar, and in no case did FCA ever disclose the
28
     CLASS ACTION COMPLAINT — JURY TRIAL DEMANDED                                                      22
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 31 of 45




 1   Sway Bar Defect.

 2           56.      In sum, and as alleged above, FCA knew about the Sway Bar Defect before the sale,

 3   the various venues the manufacturer used to sell the product failed to disclose the defect, and

 4   Plaintiff would not have purchased his Class Vehicles or would have paid less for it had he known

 5   about the Sway Bar Defect.

 6           V.       The Sway Bar Defect Causes Financial Harm To Class Members

 7           57.      FCA has had a uniform and consistent policy of denying warranty coverage for the

 8   Sway Bar Defect. On June 18, 2020, FCA publicly stated that the warranties for each of the Class

 9   Vehicles do not cover the Sway Bar Defect at issue here.

10           58.      Replacing a damaged electronic sway bar disconnect typically costs approximately

11   $1,500-$2,000 for the part alone, and not counting the additional costs of labor. Hence, Plaintiff

12   and Class members suffer pecuniary harm whenever they are forced to pay for repair or

13   replacement of the electronic sway bar disconnect.

14           59.      Despite actual and constructive knowledge of Class Vehicle defects as described in

15   this complaint, FCA failed to cure Class Vehicle defects.

16           60.      All Class Vehicles all contained the Sway Bar Defect, whether latent or manifested,

17   at the time of sale and within the warranty period. However, FCA fails to adequately repair the

18   defect free of charge.

19                                    CLASS ACTION ALLEGATIONS
20           61.      Plaintiff brings this action on his own behalf and on behalf of all other persons

21   similarly situated pursuant to the provision of Code of Civil Procedure § 382 and Civil Code

22   § 1781. Plaintiff seeks certification of the following class (the "Class"):

23
                      All persons in California who purchased, leased, or owned a
24                    Class Vehicle (the "Class");

25           62.      Subject to additional information obtained through further investigation and

26   discovery, the foregoing class definition may be modified by an amended complaint or at class

27   certification.

28

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                         23
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 32 of 45




 1           63.    Specifically excluded from the Class are FCA, FCA's officers, directors, agents,

 2   trustees, parents, children, corporations, trusts, representatives, employees, principals, servants,

 3   partners, joint ventures, or entities controlled by FCA, and their heirs, successors, assigns, or other

 4   persons or entities related to or affiliated with FCA and/or FCA's officers and/or directors, the

 5   judge assigned to this action, and any member of the judge's immediate family.

 6          64.     Numerosity. The members of the proposed Class are geographically dispersed

 7   throughout the United States and are so numerous that individual joinder is impracticable. Upon

 8   information and belief, Plaintiff reasonably estimates that there are tens of thousands of individuals

 9   that are members of the proposed Class. Although the precise number of proposed members is

10   unknown to Plaintiff, the true number of Class members is known by FCA. More specifically,

11   FCA and its network of authorized dealers, maintains databases that contain the following

12   information: (i) the name of each Class member that leased or purchased a vehicle; and (ii) the

13   address of each Class member. Thus, Class members may be identified and notified of the

14   pendency of this action by first class mail, electronic mail, and/or published notice, as is

15   customarily done in consumer class actions.

16          65.     Existence and predominance of common questions of law and fact. Common

17   questions of law and fact exist as to all Class members and predominate over any questions

18   affecting only individual Class members. These common legal and factual questions include, but

19   are not limited to, the following:

20                  (a)     Whether the electronic sway bar disconnects installed in the Class Vehicles

21                          are prone to premature failure;

22                  (b)     Whether the electronic sway bar disconnects installed in the Class Vehicles

23                          contain a design defect;

24                  (c)     Whether the Sway Bar Defect in the Class Vehicles present a safety risk;

25                  (d)     Whether FCA knew or should have known about the Sway Bar Defect when

26                          it sold the Class Vehicles;

27                  (e)     Whether FCA had a duty to disclose that the electronic sway bar disconnects

28                          are defective and/or prone to premature failure and present a safety risk;

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                           24
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 33 of 45




 1                          Whether FCA breached a duty to disclose the Sway Bar Defect;

 2                  (g)     Whether FCA intentionally and knowingly concealed, suppressed and/or

 3                          omitted material facts about the existence of the Sway Bar Defect;

 4                  (h)     Whether Class members would pay less for a Class Vehicle if FCA, at the

 5                          time of purchase or lease, disclosed the Sway Bar Defect;

 6                  (i)     Whether FCA is liable to Plaintiff and Class members under the causes of

 7                          action alleged in this complaint; and

 8                  (i)     Whether Plaintiff and Class members are entitled to restitution, equitable,

 9                          injunctive, compulsory, and/or other relief

10          66.     Typicality. Plaintiffs claims are typical of the claims of the other Class members in

11   that Plaintiff lost money or property arising out of the same illegal actions and conduct by FCA

12          67.     Adequacy of Representation. Plaintiff will fairly and adequately protect the

13   interests of Class members. Plaintiff has retained counsel that is highly experienced in complex

14   consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on behalf

15   of the Class. Furthermore, Plaintiff has no interests that are antagonistic to those of the Class.

16          68.     Superiority. A class action is superior to all other available means for the fair and

17   efficient adjudication of this controversy. The financial detriment suffered by Class members is

18   relatively small compared to the burden and expense of individual litigation of their claims against

19   FCA. It would, thus, be virtually impossible for Class members, on an individual basis, to obtain

20   effective redress for the wrongs committed against them. Furthermore, even if Class members

21   could afford such individualized litigation, the court system could not. Individualized litigation

22   would create the danger of inconsistent or contradictory judgments arising from the same set of

23   facts. Individualized litigation would also increase the delay and expense to all parties and the

24   court system from the issues raised by this action. By contrast, the class action device provides the

25   benefits of adjudication of these issues in a single proceeding, economies of scale, and

26   comprehensive supervision by a single court, and presents no unusual management difficulties

27   under the circumstances.

28          69.     In the alternative, the Class and Subclasses may also be certified because:

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                         25
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 34 of 45




 1                   (a)     the prosecution of separate actions by individual members of the Class

 2                           would create a risk of inconsistent or varying adjudication with respect to

 3                           individual Class members that would establish incompatible standards of

 4                           conduct for FCA;

 5                   (b)     the prosecution of separate actions by individual Class members would

 6                           create a risk of adjudications with respect to them that would, as a practical

 7                           matter, be dispositive of the interests of other members of the Class not

 8                           parties to the adjudications, or substantially impair or impede their ability to

 9                           protect their interests; and/or

10                   (c)     FCA acted or refused to act on grounds generally applicable to the Class and

11                           Subclasses whole, thereby making appropriate final declaratory and/or

12                           injunctive relief with respect to the members of the Class as a whole.

13                                          CLAIMS FOR RELIEF

14                                                 COUNT I
                           Violation of California's Consumer Legal Remedies Act,
15
                                California Civil Code § 1750 et seq. ("CLRA")
16           70.     Plaintiff hereby incorporates and realleges each preceding paragraph as though fully
17   set forth herein.
18           71.     Plaintiff Hunter brings this claim on behalf of himself and the other members of the
19   Class against FCA.
20           72.     FCA is a "person" as defined by California Civil Code § 1761(c).
21           73.     Plaintiff Hunter and the other California Class members are "consumers" within the
22   meaning of California Civil Code § 1761(d).
23          74.      By failing to disclose and concealing the Sway Bar Defect, FCA violated California
24   Civil Code § 1770(a), as it represented that the Class Vehicles had characteristics and benefits that
25   they do not have, represented that the Class Vehicles were of a particular standard, quality, or
26   grade when they were of another, and advertised the Class Vehicles with the intent not to sell them
27   as advertised. See Cal. Civ. Code §§ 1770(a)(5), (7) & (9).
28

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                          26
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 35 of 45




 1           75.     FCA's unfair and deceptive acts or practices occurred repeatedly in FCA's trade or

 2   business, were capable of deceiving a substantial portion of the purchasing public, and imposed a

 3   serious safety risk on the public.

 4           76.     FCA knew that the Class Vehicles suffered from an inherent defect, were

 5   defectively designed or manufactured, would fail prematurely, and were not suitable for their

 6   intended use.

 7           77.     FCA was under a duty to Plaintiff and the other members of the California Class to

 8   disclose the defective nature of the Class Vehicles' electronic sway bar disconnect systems and/or

 9   the associated repair costs because: a) FCA was in a superior position to know the true state of

10   facts about Sway Bar Defect; b) Plaintiff and the Class members could not reasonably have been

11   expected to learn or discover that their Class Vehicles have a dangerous safety defect until after

12   they purchased the Class Vehicles; and c) FCA knew that Plaintiff and the other Class members

13   could not reasonably have been expected to learn about or discover the Sway Bar Defect.

14           78.     By failing to disclose the Sway Bar Defect, FCA knowingly and intentionally

15   concealed material facts and breached its duty not to do so.

16           79.     The facts concealed or not disclosed by FCA are material because a reasonable

17   consumer would have considered them to be important in deciding whether or not to purchase the

18   Class Vehicles, or to pay less for them. Had Plaintiff and the other Class members known about

19   the Sway Bar Defect at the time of purchase, they would not have purchased the Class Vehicles or

20   would have paid less for them.

21          80.      As a result of FCA's misconduct, Plaintiff and other Class members have suffered

22   monetary harm in that the Class Vehicles are defective and require repairs or replacement.

23          81.      As a direct and proximate result of FCA's unfair or deceptive acts or practices,

24   Plaintiff and the other Class members have suffered and will continue to suffer losses.

25          82.      In connection with their CLRA claim, the Plaintiff Hunter and the Class members

26   seek restitution, injunctive relief, and attorneys' fees and costs.

27

28
     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                         27
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 36 of 45




 1                                                COUNT II
                         Violation of California's Unfair Competition Law ("UCL"),
 2                                     Bus. & Prof. Code § 17200 et seq.
 3           83.     Plaintiff hereby incorporates and realleges each preceding paragraph as though fully

 4   set forth herein.

 5           84.     Plaintiff Hunter brings this cause of action on behalf of himself and the other

 6   members of the California Class against FCA.

 7           85.     California Business & Professions Code Section 17200 prohibits acts of "unfair

 8   competition," including any "unlawful, unfair or fraudulent business act or practice" and "unfair,

 9   deceptive, untrue or misleading advertising."

10           86.     FCA knew that the Class Vehicles suffered from a latent Sway Bar Defect, were

11   defectively designed and/or manufactured, would fail prematurely, and were not suitable for their

12   intended use.

13           87.     In failing to disclose the Sway Bar Defect, FCA knowingly and intentionally

14   concealed material facts and breached its duty to disclose, thereby engaging in a fraudulent

15   business act or practice within the meaning of the UCL.

16           88.     FCA was under a duty to Plaintiff and the other members of the California Class to

17   disclose the Sway Bar Defect because: a) FCA was in a superior position to know the true state of

18   facts about the safety defect in the Class Vehicles; b) FCA made partial disclosures about the Class

19   Vehicles without revealing the Sway Bar Defect; and c) FCA actively concealed the Sway Bar

20   Defect from Plaintiff and the other Class members at the time of sale and thereafter.

21          89.      The facts concealed or not disclosed by FCA are material because a reasonable

22   person would have considered them to be important in deciding whether or not to purchase or lease

23   the Class Vehicles, or to pay less for them. Had Plaintiff and the Class members known about the

24   Sway Bar Defect at the time of purchase, they would not have purchased or leased the Class

25   Vehicles or would have paid less for them.

26          90.      FCA's omissions of material facts, as set forth herein, also constitute "unfair"

27   business acts and practices within the meaning of the UCL, in that FCA's conduct was injurious to

28
     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                         28
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 37 of 45




 1   consumers, offended public policy, and was unethical and unscrupulous. Plaintiff also asserts a

 2   violation of public policy arising from FCA's withholding of material safety facts from consumers.

 3   FCA's violation of consumer protection and unfair competition laws resulted in harm to

 4   consumers.

 5           91.    FCA's omissions of material facts, as well as post-sale refusal to remedy the Sway

 6   Bar Defect or pay for necessary repairs, also constitute unlawful business acts or practices because

 7   they violate consumer protection laws and the common law as set forth herein.

 8           92.    FCA's omissions of material facts, as well as post-sale refusal to remedy the Sway

 9   Bar Defect or pay for necessary repairs, also constitute "unfair" conduct under the UCL, because

10   FCA's conduct is immoral, unethical, oppressive, unscrupulous or substantially injurious to

11   consumers. There is no utility to FCA's conduct; or alternatively, any such utility is outweighed by

12   the gravity of harm to Plaintiff and to the Class members. Furthermore, the consumer injury is

13   substantial; (2) the injury is not outweighed by any countervailing benefits to consumers or

14   competition; and (3) the injury is one that consumers could not have reasonably avoided.

15          93.     FCA knowingly sold Class Vehicles with unreliable and defective electronic sway

16   bar disconnect systems, and then refused to pay for necessary repairs, to save money. FCA knew

17   that Plaintiff and class members would suffer financial harm as a result of the Sway Bar Defect in

18   the form of repair costs and diminution in value to their Class Vehicles, and in fact Plaintiff and

19   class members have suffered such financial harm.

20          94.     FCA's unfair or deceptive acts or practices occurred repeatedly in FCA's trade or

21   business, and were capable of deceiving a substantial portion of the purchasing public.

22          95.     As a direct and proximate result of FCA's unfair and deceptive practices, Plaintiff

23   and the other members of the Class have suffered and will continue to suffer out-of-pocket losses.

24          96.     In connection with their UCL claim, Plaintiff and the California Class members

25   seek restitution, disgorgement, injunctive relief, and any other relief available under the statute.

26
27
28
     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                           29
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 38 of 45




 1                                               COUNT III
                                              Unjust Enrichment
 2
             97.     Plaintiff incorporates and realleges each preceding paragraph as though fully set
 3
     forth herein.
 4
             98.     Plaintiff brings this claim on behalf of himself and the Class.
 5
            99.      Plaintiff and members of the Class conferred a benefit on FCA by leasing or
 6
     purchasing the Class Vehicles. FCA was and should have been reasonably expected to provide
 7
     Class Vehicles free from the Sway Bar Defect.
 8
            100.     FCA unjustly profited from the lease and sale of the Class Vehicles at inflated prices
 9
     as a result of its omissions and concealment of the Sway Bar Defect in the Class Vehicles. FCA
10
     benefited, at Plaintiff's expense, when it sold or leased Plaintiff a vehicle that was inferior to the
11
     vehicle Plaintiff thought he was purchasing, yet the price he paid was the price for a supposedly
12
     better functioning vehicle he thought he was purchasing. Put another way, a benefit was conferred
13
     in the form of the inflated purchase price paid for defective and unsafe vehicles that were worth
14
     much less.
15
            101.     The unjust enrichment claim is not limited to omissions made at the point of sale.
16
     FCA also unjustly profited at the expense of class members because it knows the Sway Bar Defect
17
     is substantially likely to materialize during the useful life of the Class Vehicles, yet refuses to pay
18
     for repairs when needed.
19
            102.     As a proximate result of FCA's omissions and concealment of the Sway Bar Defect
20
     in the Class Vehicles, and as a result of FCA's ill-gotten gains, benefits and profits, FCA has been
21
     unjustly enriched at the expense of Plaintiff and Class members. It would be inequitable for FCA
22
     to retain its ill-gotten profits without paying the value thereof to Plaintiff and the Class members.
23
            103.     There is a direct relationship between FCA on the one hand, and Plaintiff and the
24
     Class members on the other, sufficient to support a claim for unjust enrichment. FCA failed to
25
     disclose the Sway Bar Defect to improve retail sales, which in turn improved wholesale sales.
26
     Conversely, FCA knew that disclosure of the Sway Bar Defect would suppress retail and wholesale
27
     sales of the Class Vehicles, suppress leasing of the Class Vehicles, and would negatively impact
28

     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                             30
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 39 of 45




 1   the reputation of FCA's brand among Plaintiff and Class members. FCA also knew its

 2   concealment and suppression of the Sway Bar Defect would discourage Plaintiff and Class

 3   members from seeking replacement or repair of the electronic sway bar disconnect, thereby

 4   increasing profits and/or avoiding the cost of such replacement or repairs.

 5          104.    Plaintiff and members of the Class are entitled to restitution in the amount of FCA's

 6   ill-gotten gains, benefits and profits, including interest, resulting from their unlawful, unjust and

 7   inequitable conduct.

 8          105.    Plaintiff and members of the Class seek an order requiring FCA to disgorge its gains

 9   and profits to Plaintiff and members of the Class, together with interest, in a manner to be

10   determined by the Court.

11
                                           PRAYER FOR RELIEF
12
            WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,
13
     respectfully asks this Court to enter judgment against FCA and in favor of Plaintiff and the Class,
14
     and award the following relief:
15
            A.      An order certifying this action as a class action, declaring Plaintiff representatives of
16
                    the Class, and appointing Plaintiff's counsel as counsel for the Class;
17
            B.      An order awarding declaratory relief and enjoining FCA from continuing the
18
                    unlawful, deceptive, fraudulent, harmful, and unfair business conduct and practices
19
                    alleged herein;
20
            C.      Injunctive and equitable relief in the form of a comprehensive program to repair the
21
                    Sway Bar Defect, and/or buyback all Class Vehicles, and to fully reimburse and
22
                    make whole all Class and Subclass members for all costs and economic losses;
23
            D.      A declaration that FCA is financially responsible for all Class notice and the
24
                    administration of Class relief;
25
            E.      An order awarding to the extent available under governing law, restitution,
26
                    disgorgement, and/or punitive damages, for economic loss and out-of-pocket costs
27
                    in an amount to be determined at trial;
28
     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                            31
     Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 40 of 45




 1         F.      A declaration that FCA is required to engage in corrective advertising;

 2         G.      An order requiring FCA to pay both pre- and post- judgment interest on any

 3                 amounts awarded; -

 4         H.      An award of costs, expenses, and attorneys' fees as permitted by law; and

 5         1.      Such other or further relief as the Court may deem appropriate, just, and equitable.

 6                                    DEMAND FOR JURY TRIAL

 7         Plaintiff demands a trial by jury of any and all issues in this action so triable of right.

 8
     Dated: September 20, 2022                     Respectfully submitted,
 9
                                                   BURSOR & FISHER, P.A.
10

11                                                 By:
12

13                                                L. Timothy Fisher (State Bar No. 191626)
                                                  Joel D. Smith (State Bar No. 244902)
14                                                1990 North California Boulevard, Suite 940
                                                  Walnut Creek, CA 94596
15                                                Telephone: (925) 300-4455
                                                  Facsimile: (925) 407-2700
16                                                E-Mail: ltfisher@bursor.com
                                                          jsmith@bursor.com
17
                                                  Attorneys for Plaintiff
18

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     CLASS ACTION COMPLAINT - JURY TRIAL DEMANDED                                                        32
      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 41 of 45




 1                              CLRA Venue Declaration, Civil Code 1780(c)

2              I, Joel D. Smith, declare as follows:
                                                     --
 3             1.     I have personal knowledge to the facts stated herein and, if called upon to do so,

4    could competently testify hereto.

 5             2.     I am the attorney for Plaintiff in the above-captioned action.

 6             3.     I submit this declaration in support of the Class Action Complaint, which is based in

 7   part on violations of the Consumers Legal Remedies Act, California Civil Code § 1750 et seq.

 8             4.     The Class Action Complaint has been filed in the proper place for trial of this

 9   action.

10             5.     It is my understanding that FCA regularly transacts business in this County, and the

11   acts and omissions giving rise to this action occurred in large part in this County.

12             I declare under penalty of perjury under the laws of the United States that the foregoing is

13   true and correct to the best of my knowledge. Executed on September 20, 2022 in Walnut Creek,

14   California.

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     CLRA VENUE DECLARATION
                      Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 42 of 45                                                                           CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                               FOR COURT USE ONLY
Joel D. Smith, State Bar No. 244902
Bursor & Fisher, P.A., 1990 N. California Blvd., Suite 940, Walnut Creek, CA 94596

          TELEPHONE NO.:     (925) 300-4455                FAX NO. (Optional):   (925) 407-2700
          E-MAIL ADDRESS: jSITlith@bursoncom                                                                Electronically Filed
     ATTORNEY FOR (Name):    Plaintiff Eric Hunter
                                                                                                            by Superior Court of CA,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA
                                                                                                            County of Santa Clara,
 STREET ADDRESS:      191 North First Street
 MAILING ADDRESS:
                                                                                                            on 9/20/2022 3:33 PM
CITY AND ZIP CODE:    San Jose 95113                                                                        Reviewed By: R. Walker
      BRANCH NAME:    Old Courthouse                                                                        Case #22CV403295
CASE NAME:                                                                                                  Envelope: 10013054
 Eric Hunter v. FCA US LLC

        CIVIL CASE COVER SHEET
  x     Unlimited         Limited
                                               Complex Case Designation
                                                   Counter               Joinder
                                                                                                             22M7403295
        (Amount           (Amount
                                           Filed with first appearance by defendant                          JUDGE:
         demanded         demanded is
                                               (Cal. Rules of Court, rule 3.402)                              DEPT.:
        exceeds $25,000)  $25,000 or less)
                                           Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
      Auto Tort                                            Contract                                       Provisionally Complex Civil Litigation
     I-7 Auto (22)                                                   Breach of contract/warranty (06)     (Cal. Rules of Court, rules 3.400-3.403)
           Uninsured motorist (46)                                   Rule 3.740 collections (09)          1-1 Antitrust/Trade regulation (03)
      Other PUPDNVD (Personal Injury/Property                        Other collections (09)                      Construction defect (10)
      Damage/Wrongful Death) Tort
                                                                     Insurance coverage (18)              EJ Mass tort (40)
     I-7 Asbestos (04)                                               Other contract (37)                  EJ Securities litigation (28)
             Product liability (24)                                                                             Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                           Insurance coverage claims arising from the
                                                           I—I Eminent domain/Inverse
             Other PI/PD/WD (23)                                                                                above listed provisionally complex case
                                                                     condemnation (14)
                                                                                                                types (41)
      Non-PUPD/WD (Other) Tort                             niWrongful eviction (33)                       Enforcement of Judgment
             Business tort/unfair business practice (07)   1-7•Other real property (26)                   I—I Enforcement of judgment (20)
             Civil rights (08)                             Unlawful Detainer
                                                                                                          Miscellaneous Civil Complaint
             Defamation (13)                                     •Commercial (31)                                RICO (27)
             Fraud (16)                                    I—I Residential (32)
                                                                                                          I—I Other complaint (not specified above) (42)
             Intellectual property (19)                    I     I   Drugs (38)
                                                                                                          Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                                                          I—I Partnership and corporate govemance (21)
          Other non-Pl/PD/WD tort (35)                          I Asset forfeiture (05)
     Employment                                            r---1•Petition re: arbitration award (11)      I—I Other petition (not specified above) (43)
     I—I Wrongful termination (36)                         I—I Writ of mandate (02)
     ElOther employment (15)                               TiOther judicial review (39)
2. This case I—I is            is not          complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
   a.         Large number of separately represented parties                       d.1-7
                                                                              Large number of witnesses
      b.1-7   Extensive motion practice raising difficult or novel e. = Coordination with related actions pending in one or more
              issues that will be time-consuming to resolve                    courts in other counties, states, or countries, or in a federal
   c. [=I Substantial amount of documentary evidence                           court
                                                                     f. I—I Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. I x I monetary b.                     1-7
                                                                            nonmonetary; declaratory or injunctive relief c. I       I punitive
4.  Number    of causes  of action  (specify): Three
5. This case        r7is           1-7
                                     is not    a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date:
Joel D. Smith
                             (TYPE OR PRINT NAME)                                                       (BIG TURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                        NOTICE
 •    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
 •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                 Page 1 of 2
Form Adopted for Mandatory Use                                                                                     Cal. Rules of Court, ivies 2.30, 3.220, 3.400-3.403, 3.740,
  Judicial Council of California                               CIVIL CASE COVER SHEET                                      Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rey.September 1.2021]                                                                                                                              www.courts.cagov
               Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 43 of 45

                                                                                                     ATTACHMENT CV-5012
CIVIL LAASUIT NOTICE
Superior Court ofCaliforria, County of Santa Clara                       CASE NUVBER       22CV403295
191 North Rrst St, San Jos4 C4 95113

                                    PLEASE READ THIS ENTIRE FORM

PLAINTIFF (the person suing): Wthin 60 days after filing the lawsuit, you mist serve each Defendant with the Conplaint,
Surrmcns, an Alternative Cute Fbsolution (ALT?) Informafion Sheet, and a copy of this Civil Lavisuit Woe, and you must file
Mitten proof of such service.


    DEFENDANT (The parson sued): You mast do each of the following to protect your rights:

    1. You must file a written response to the Conplaint, using the proper legal fonn or format, in the Clerks Cffice of the
       Court, within 30 days of the date you were served with the Surnnans and Corrplaint,
    2. You must serve by mail a copy of your witten response on the Flaintiffs attorney or on the Plaintiff if Plaintiff has no
       attorney (to "serve by mail" rreans to have an adult other than yourself mail a copy); and
    3. You must attend the first Case Management Conference.
         Waning: If you, as the Defendant, do not follow these instructions, you inay automatically lose this case.



RULES AM) FORMS: You trust follow the California Riles of Court and the Superior Court of California, County of
< CountyNarre > Local Civil Riles and use proper forms. You can obtain legal inforrretion, view the des and receive forms, free
of charge, from the Self-Help Center at 201 Nbrth First Street, San Jose (408-882-2900 x-2926).

     •    State Riles and Judicial Council Forms: www.courtinfo.ca.qovfforrrs and wnw.courtinfo.cagov/rules
     •    Local RAW and Forrrs: http://www.socsuperiorcourt.orgiciviVrule1tochtrn

CASE M4N4GEIVEiVT CONcERENCE (Cl): You must meet with the other parties and otisaiss the case, in person or by
telephone at least 30 calendar days before the CMC. You ;rust also fill out, file and serve a Case Management Statement
(Judicial Card form (M-110) at least 15 calendar days before the CMC.

          You oryour attorney irtst appear at the C7VC You may ask to appear by telephone — see Local Civil Rile 8.


    your case management judge is: Hon. Patricia M. Lucas                                Department: 3

    The 1st CMC is scheduled for: (Completed by aerk of Cart)
                            Date: 02/08/2023 lime: 2:30pm                               in Deparlrnent: 3
    The next CM: is scheduled for (Corrpleted by party if the 1s, CMC was continued or has passed)
                                Date:                                                   in Department:


ALTERNATNEDISPUIERICOLUTION (ADR): If all parties have wpeared and filed a corrpleted ADIR Sfipulation Fain (local
forrn CV-5008) at least 15 days before the CNC, the Court will cancel the CMC and mail notice of an ADR Status Conference.
Msit the Court's website at wvwv.sccsuperiorcourtorgtiviVADR/ or sell the ADR Administrator (408-882-2100 x-2530) for a list of
ADR providers and their qualifications, services, and fees.

WARNNa Sanctions may be imposed if you do not follow the Califomia Ries of Court or the Local Ries of Court.


                                                                                                                  Reset Form

CV-5012 REV 08/01/16                               CIVIL LAWSUIT NOTICE                                                   Page 1 of 1
              Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 44 of 45

                      SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA
                                           191 N. FIRST STREET
                                       SAN JOSE, CA 95113-1090 Electronically Filed
                                                               by Superior Court of CA,
                                                               County of Santa Clara,
TO:    FILE COPY                                               on 9/21/2022 3:10 PM
                                                               Reviewed By: R. Walker
RE:                   Hunter v. FCA US LLC (Class Action)      Case #22CV403295
CASE NUMBER:          22CV403295                               Envelope: 10024657



                       ORDER DEEMING CASE COMPLEX AND STAYING DISCOVERY
                               AND RESPONSIVE PLEADING DEADLINE



        WHEREAS, the Complaint was filed by Plaintiff Eric Hunter ("Plaintiff') in the Superior Court of
California, County of Santa Clara, on September 20, 2022 and assigned to Department 3 (Complex
Civil Litigation), the Honorable Patricia M. Lucas presiding, pending a ruling on the complexity issue;

       IT IS HEREBY ORDERED that:
       The Court determines that the above-referenced case is COMPLEX within the meaning of
California Rules of Court 3.400. The matter remains assigned, for all purposes, including discovery
and trial, to Department 3 (Complex Civil Litigation), the Honorable Patricia M. Lucas presiding.
       The parties are directed to the Court's local rules and guidelines regarding electronic filing
and to the Complex Civil Guidelines, which are available on the Court's website.
       Pursuant to California Rules of Court, Rule 3.254, the creation and maintenance of the Master
Service List shall be under the auspices of (1) Plaintiff Eric Hunter, as the first-named party in the
Complaint, and (2) the first-named party in each Cross-Complaint, if any.
       Pursuant to Government Code section 70616(b), each party's complex case fee is due within
ten (10) calendar days of this date.
       Plaintiff shall serve a copy of this Order on all parties forthwith and file a proof of service within
seven (7) days of service.
       Any party objecting to the complex designation must file an objection and proof of service
within ten (10) days of service of this Order. Any response to the objection must be filed within
seven (7) days of service of the objection. The Court will make its ruling on the submitted pleadings.
       The Case Management Conference remains set for February 8, 2023 at 2:30 p.m. in
Department 3.
       Counsel for all parties are ordered to meet and confer in person at least 15 days prior to the
First Case Management Conference and discuss the following issues:
       1. Issues related to recusal or disqualification;
       2. Issues of law that, if considered by the Court, may simplify or further resolution of the case,
            including issues regarding choice of law;
       3. Appropriate alternative dispute resolution (ADR), for example, mediation, mandatory
            settlement conference, arbitration, mini-trial;
       4. A plan for preservation of evidence and a uniform system for identification of documents
            throughout the course of this litigation;
       5. A plan for document disclosure/production and additional discovery; which will generally
            be conducted under court supervision and by court order;


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Updated on 3/11/21.
               Case 5:22-cv-06777-SVK Document 2-1 Filed 11/02/22 Page 45 of 45

        6. Whether it is advisable to address discovery in phases so that information needed to
           conduct meaningful ADR is obtained early in the case (counsel should consider whether
           they will stipulated to limited merits discovery in advance of certification proceedings),
           allowing the option to complete discovery if ADR efforts are unsuccessful;
        7. Any issues involving the protection of evidence and confidentiality;
        8. The handling of any potential publicity issues;

        Counsel for Plaintiff is to take the lead in preparing a Joint Case Management Conference
Statement to be filed 5 calendar days prior to the First Case Management Conference, and include
the following:

        1. a brief objective summary of the case;
        2. a summary of any orders from prior case management conferences and the progress of
           the parties' compliance with said orders;
        3. significant procedural and practical problems that may likely be encountered;
        4. suggestions for efficient management, including a proposed timeline of key events; and
        5. any other special consideration to assist the court in determining an effective case
           management plan.

       To the extent the parties are unable to agree on the matters to be addressed in the Joint
Case Management Conference Statement, the positions of each party or of various parties should
be set forth separately and attached to this report as addenda. The parties are encouraged to
propose, either jointly or separately, any approaches to case management they believe will
promote the fair and efficient handling of this case. The Court is particularly interested in identifying
potentially dispositive or significant threshold issues the early resolution of which may assist in moving
the case toward effective ADR and/or a final disposition.

       STAY ON DISCOVERY AND RESPONSIVE PLEADING DEADLINE Pending further order of this
Court, the service of discovery and the obligation to respond to any outstanding discovery is
stayed. However, Defendant(s) shall file a Notice of Appearance for purposes of identification of
counsel and preparation of a service list. The filing of such a Notice of Appearance shall be without
prejudice to the later filing of a motion to quash to contest jurisdiction. Parties shall not file or serve
responsive pleadings, including answers to the complaint, motions to strike, demurrers, motions for
change of venue and cross-complaints until a date is set at the First Case Management
Conference for such filings and hearings.

         This Order is issued to assist the Court and the parties in the management of this "Complex"
case through the development of an orderly schedule for briefing and hearings. This Order shall not
preclude the parties from continuing to informally exchange documents that may assist in their
initial evaluation of the issues presented in this Case.

        Plaintiff shall serve a copy of this Order on all the parties in this matter forthwith.

        SO ORDERED.

Date: Spptpmber 91, 9099
                                                                                    Hon. Patricia M. Lucas
                                                                                    Judge of the Superior Court

If you, a party represented by you, or a witness to be called on behalf of that party need an accommodation under the
American with Disabilities Act, please contact the Court Administrator's office at (408) 882-2700, or use the Court's TDD line,
(408) 882-2690 or the Voice/TDD California Relay Service, (800) 735-2922.
                                                                                                                             2
Updated on 3/11/21.
